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     EDUARDO GARCIA-ZAZUETA
 6
 7              IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
10   THE UNITED STATES OF AMERICA,      )          CRF. No. CR-S-05-155 LKK
                                        )
11             Plaintiffs,              )
                                        )          SUBSTITUTION OF ATTORNEY
12                                      )
                                        )
13   EDUARDO ZAZUETA-GARCIA             )
                                        )
14             Defendant.               )
                                        )
15   ___________________________________/
16        Defendant, EDUARDO ZAZUETA-GARCIA, hereby substitutes ROBERT
17   L. FORKNER, with law offices at 722 Thirteenth Street, Modesto,
18   California 95354 in place and stead of DANIEL BRODERICK, Attorney
19   at Law.
20   Dated: 8/30/05                           /s/ Eduardo Zazueta Garcia
                                             EDUARDO ZAZUETA-GARCIA
21
22   Dated: 9/2/05                            /s/ Daniel Broderick
                                             DANIEL BRODERICK,
23                                           Federal Defender
24   I ACCEPT THE ABOVE SUBSTITUTION
25   Dated: 8/30/05                           /s/ Robert L. Forkner
                                             ROBERT L. FORKNER
26                                           Attorney at Law
27   IT IS SO ORDERED
28   Dated: September 6, 2005                /s/ Lawrence K. Karlton
                                             HONORABLE LAWRENCE K. KARLTON
                                             U.S. DISTRICT COURT JUDGE
